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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEVADA

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      ORIGINAL COMPLAINT
                                      §
TRUSTIFI, LLC,                        §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this Complaint

against Trustifi, LLC (“Defendant” or “Trustifi”) for infringement of United States Patent No.

9,054,860 (hereinafter “the ‘860 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with an address of 1 East Broward




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Boulevard, Suite 700, Fort Lauderdale, FL 33301.

        4.       On information and belief, Defendant is a Delaware limited liability company

with its principal office located at 6543 S. Las Vegas Blvd., Las Vegas, NV 89119. On

information and belief, Defendant may be served through its registered agent, Resident Agents

Inc., 8 The Green, Ste R, Dover, DE 19901.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is a resident of this District. Alternatively, acts of infringement are

occurring in this District and Defendant has a regular and established place of business in this

District.

                                  COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)

        8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘860 Patent with sole rights to enforce

the ‘860 Patent and sue infringers.

        11.      A copy of the ‘860 Patent, titled “Digital Verified Identification System and



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Method,” is attached hereto as Exhibit A.

       12.     The ‘860 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘860 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and/or software for digital

signature services (e.g., Trustifi), and any similar products and/or services (“Product”) covered

by at least Claim 1 of the ‘860 Patent. Defendant has infringed and continues to infringe the ‘860

patent either directly or through acts of contributory infringement or inducement in violation of

35 U.S.C. § 271.

       14.     The Product provides a system for encrypting email. The Product provides for

digitally verifying the identification of a sender. Certain aspects of this element are illustrated

in the screenshot(s) below and/or in those provided in connection with other allegations herein.




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       15.     The Product includes at least one digital identification module structured to be

associated with at least one entity. For example, the Product provides a module (e.g., user’s

private key) to be associated with at least one entity (i.e., a user who needs to send an encrypted

email). Certain aspects of this element are illustrated in the screenshot(s) below and/or in those

provided in connection with other allegations herein.




       16.     The Product includes a module generating assembly structured to receive at least

one verification data element corresponding to the at least one entity and create said at least one

digital identification module. For example, the Product includes a module generating assembly

(e.g., sign-up page/software) structured to receive at least one verification data element (e.g.,

user signs up with a unique login ID and password) corresponding to at least one entity. The




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module generating assembly is also structured to create the at least one digital identification

module (e.g., creating a user private key). Certain aspects of this element are illustrated in the

screenshot(s) below and/or in those provided in connection with other allegations herein.




       17.     The at least one digital identification module is disposable within at least one

electronic file. (e.g., the private key is stored in a file and can be part of the content of, or an

attachment to, an email). Certain aspects of this element are illustrated in the screenshot(s) below

and/or in those provided in connection with other allegations herein.




       18.     The at least one digital identification module includes at least one primary

component structured (e.g., a metadata encrypted text) to at least partially associate the digital

identification module with the at least one entity (e.g., the user who sent the encrypted email).



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Certain aspects of this element are illustrated in the screenshot(s) below and/or in those provided

in connection with other allegations herein.




       19.     The at least one digital identification module is cooperatively structured to be

embedded within only a single electronic file. For example, the module (private key) is stored

within a single file (such as a document, email, attachment, etc.). Certain aspects of this element

are illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




       20.     Defendant’s actions complained of herein will continue unless Defendant is


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enjoined by this court.

          21.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          22.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,054,860 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: August 10, 2021.                 Respectfully submitted,


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